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           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :      Criminal No. 4:09-CR-00345
                                           :
             v.                            :     (Judge Jones)
                                           :
GREGORY ALAN MORTON                        :      (Electronically Filed)
                                           :


                  BRIEF IN SUPPORT OF MOTION IN LIMINE


Procedural History

      By indictment filed October 22, 2009, Gregory Alan Morton was charged

with first degree murder in violation of 18 U.S.C. § 1111. Trial in this matter is

set for June 28, 2010.



Factual Background

      On August 1, 2007, Gregory Morton was housed in Cell 125 in the Special

Housing Unit at the United States Penitentiary at allen wood. In that same cell

were Scott Lilly and James Bala. During that evening, the three cell mates drank

homemade wine. Scott Lilly, a Pagan Motorcycle Gang Member known as

“Backup,” attacked Gregory Morton. In an effort to defend himself Gregory

Morton fought off Scott Lilly and unfortunately caused his death.
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Argument

      I.      All Photographs of the Body of Scott Lilly Should Are
              Excluded Because They Are Irrelevant and Unfairly
              Prejudicial.

      The altercation between Scott Lilly and Gregory Morton stretched over a

long period of time that evening. When it became apparent that Scott Lilly was

badly injured Gregory Morton pressed the cell duress alarm to alert the corrections

officers. The button was pushed at 11:04 p.m. on August 1, 2010. The corrections

officers, who were ignoring their duties, did not respond to the alarm until 12:34

a.m. on August 2, 2010. The photographs Gregory Morton seeks to exclude were

taken after that time.

      Scott Lilly lay on the cell floor for one and one half hours after the

altercation ended. When Scott Lilly hit the floor there was no pool of blood and

there was no coagulating or dried blood on him. The dereliction of duty by the

corrections officers allowed the blood to drain from the relatively minor holes in

Scott Lilly into a giant pool and the mess of dried blood that is evident on the

photographs of Scott Lilly’s body. The lack of prompt action by the corrections

officers caused an unfairly prejudicial scene for photographs.

      The photographs are irrelevant because they do not depict the actual

condition of Scott Lilly when he died. (F.R.E. 401) The photographs are also


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unfairly prejudicial because of the bloody mess caused by the dereliction of duty

by the corrections officers.

      Gregory Morton asks this Honorable Court to follow the direction of the

Fourth Circuit Court of Appeals in United States v. Myers, 280 F.3d 407 (2002)

and require the government to obtain an advance ruling before any evidence

depicting blood would be introduced. Since government agents caused the

photographs to unfairly depict blood and gore, they should not be allowed to profit

from their malfeasance.

      II.    The Government Should Not Be Allowed to Introduce
             the Reason for Gregory Morton’s Placement in the
             Special Housing Unit under F.R.E. 404 (b).


      The government has given 404(b) notice that they intend to introduce

evidence to show the reasons why Gregory Morton was placed in the Special

Housing Unit. Such evidence is irrelevant because it does not make the existence

of any fact of consequence more or less probable. (F.R.E. 401) The reasons why

Gregory Morton was placed in the Special Housing Unit have nothing to do with

Scott Lilly and were not the cause of the attacks Scott Lilly perpetrated on Gregory

Morton. In addition to being irrelevant, the information has no probative value and

is unfairly prejudicial. (F.R.E. 403)



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      III.   If Gregory Morton Testifies, Impeachment by Prior
             Conviction Should Be Limited.

      Gregory Morton may testify at trial. If he does testify, the government will

be allowed to impeach him with prior convictions that are within ten (10) years.

(F.R.E. 609) This motion seeks to limit the government to the date, nature (bank

robbery) and fact of conviction as required by the Federal Rules of Evidence,

United States v. Robinson, 8 F.3d 398 (7th Cir. 1993); United States v. Jiminez,

214 F.3d 1095 (9th Cir. 2000).



Conclusion

      Gregory Morton asks that the above-described evidence be excluded or

limited as requested.



                                      Respectfully submitted,

Date: June 14, 2010                   /s/ Thomas A. Thornton
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                         CERTIFICATE OF SERVICE



      I, Thomas A. Thornton, of the Federal Public Defender’s Office, do hereby

certify that on this date I served a copy of the foregoing Brief in Support of

Motion in Limine, via Electronic Case Filing, or by placing a copy in the United

States mail, first class in Harrisburg, Pennsylvania, addressed to the following:

      FREDERICK E. MARTIN, ESQUIRE
      United States Attorney's Office


      GREGORY ALAN MORTON


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